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 8                      IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                                  Case No. 5:19-cv-01911-PVC
12 MANUEL NAVARRO,
                                                ORDER AWARDING EAJA FEES
13                                   Plaintiff, TO PLAINTIFF PURSUANT TO
                                                STIPULATION
14                v.
15 ANDREW SAUL, Commissioner,
   of Social Security,
16
17                      Defendants.

18
          Based on and as indicated in the parties’ Stipulation, IT IS ORDERED that
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     Defendant shall pay Plaintiff attorney fees in the amount of six thousand five
20
     hundred dollars ($6,500) under the Equal Access to Justice Act (EAJA), 28 U.S.C.
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     § 2412(d), and costs in the amount of four hundred dollars ($400) under 28 U.S.C.
22
     § 1920.
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24   Dated: September 25, 2020                     __________________________
25                                                   Hon. Pedro V. Castillo
                                                   United States Magistrate Judge
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